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                                                           February 16, 2024



VIA CM/ECF

Hon. Elizabeth A. Wolford
United States District Judge
100 State Street
Rochester, New York 14614

Dear Judge Wolford:

                    Re:      Forrest v. Clover Group, Inc., et al. (Case No. 1:23-cv-00557)

                The above-referenced action has been settled. We represent the Clover
defendants. We write to provide an update pursuant to the Court’s February 2, 2024 Order
directing either a stipulation of discontinuance or other appropriate document be filed by
February 16, 2024. Dkt. 76. The Parties are in the process of finalizing the settlement, and we
are awaiting Plaintiff’s comments on and execution of the settlement agreement. Once the
settlement agreement is executed, a stipulation of discontinuance will be filed in short order.

                    Thank you for your consideration.

                                                           Respectfully yours,



                                                           Alexandria N. Rowen


ANR:

cc:          All Counsel of Record
             (via CM/ECF)




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